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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-1439V
                                    Filed: February 18, 2016
                                           Unpublished

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SANDRA MALONE,                          *
                                        *
                    Petitioner,         *     Ruling on Entitlement; Concession;
                                        *     Influenza;
                                        *     Shoulder Injury (“SIRVA”);
SECRETARY OF HEALTH                     *     Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                     *
                                        *
                    Respondent.         *
                                        *
****************************
Anne Carrion Toale, Maglio Christopher and Toale, Sarasota, FL, for petitioner.
Christine Becer, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT 1

Dorsey, Chief Special Master:

        On December 1, 2015, Petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 [the
“Vaccine Act” or “Program”]. Petitioner alleges that she experienced a left shoulder
injury following receipt of her October 22, 2014 influenza vaccine.. Petition at 1. The
case was assigned to the Special Processing Unit of the Office of Special Masters.

       On February 17, 2016, respondent filed her Rule 4(c) report in which she
concedes that petitioner is entitled to compensation in this case. Respondent’s Rule
4(c) Report at 1. Specifically, respondent “has concluded that a preponderance of
evidence establishes that the injury to petitioner’s left shoulder was caused-in-fact by
the administration of her October 22, 2014, flu vaccine, and that petitioner’s injury is not
due to factors unrelated to the administration of the flu vaccine.” Id. at 3. Respondent
further agrees that the statutory six month sequela requirement has been satisfied. Id.

1 Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012)(Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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     In view of respondent’s concession and the evidence before me, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                              s/Nora Beth Dorsey
                              Nora Beth Dorsey
                              Chief Special Master
